AO 94 (Rev. 06/09) Commitment to Another District

 

Middle District of North Carolina

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UNITED STATES DISTRICT COURT [fo atta
forthe a NOV -8 2017, =:

United States of America
Vv.

mae

Case No. 1:17mj361

JOHN E. KELLY
Defendant

Charging District’s
Case No. 2:17¢r255_

 

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COMMITMENT TO ANOTHER DISTRICT

The defendant has been ordered to appear in the Southern _ Districtof Ohio ,

(if applicable) Eastern division. The defendant may need an interpreter for this language:

 

 

The defendant: will retain an attorney.

X is requesting court-appointed counsel.
The defendant remains in custody after the initial appearance.

IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the
United States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may
be promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.

Date: November 8, 2017 /s/ L. Patrick Auld

Judge's signature

 

L. Patrick Auld, United States Magistrate Judge _

Printed name and title

 

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